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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


 FRIENDS OF GEORGE’S, INC.,                       )
                                                  )
        Plaintiff,                                )
                                                  )       No. 2:23-cv-02163-TLP-tmp
 v.                                               )
                                                  )
 STATE OF TENNESSEE, BILL LEE, in his             )
 official and individual capacity as governor     )
 of Tennessee, and JONATHAN SKRMETTI,             )
 in his official and individual capacity as the   )
 Attorney General of Tennessee,                   )
                                                  )
        Defendants.                               )



 FRIENDS OF GEORGE’S, INC.,                       )
                                                  )
        Plaintiff,                                )
                                                  )       No. 2:23-cv-02176-TLP-tmp
 v.                                               )
                                                  )
 STEVEN J. MULROY, in his official and            )
 individual capacity as District Attorney         )
 General of Shelby County, Tennessee,             )
                                                  )
        Defendant.                                )


          ORDER EXTENDING TEMPORARY RESTRAINING ORDER AND
                        CONSOLIDATING CASES


       The Court held a status conference with counsel on April 5, 2023. (See Civ. No.

23-2163, ECF No. 30 and Civ. No. 23-2176, ECF No. 21.) At the conference, the Parties agreed

to two things. First, the Parties agreed to consolidate these cases because both involve common

questions of law and fact. (Id.) Second, the Parties agreed to a consolidated preliminary
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injunction hearing and trial on the merits. (Id.) With that in mind, Defendants consented to an

order extending the temporary restraining order (“TRO”) until May 26, 2023.

       Under Federal Rule of Civil Procedure 42(a), a court may consolidate actions if they

“involve a common question of law and fact.” Here, the Parties do not dispute that both cases

involve a common question of law and fact. The Court therefore CONSOLIDATES case

number 2:23-cv-02176-TLP-tmp with case number 2:23-cv-02163-TLP-tmp.1

       Under Federal Rule of Civil Procedure 65(b)(2), the Court may extend a TRO for up to

fourteen days unless “the adverse party consents to a longer extension.” Defendants consented

to an extension period longer than fourteen days, and the Court finds there is good cause to

extend the TRO for two reasons: First, extending the TRO gives the Parties enough time to

conduct discovery and to brief the issues fully for a preliminary injunction hearing and trial on

the merits on May 22, 2023. Second, extending the TRO affords flexibility for the Court’s heavy

trial schedule with other cases in the next seven weeks.

       For the reasons above, the Court EXTENDS the temporary restraining order prohibiting

Governor Bill Lee, Attorney General Jonathan Skrmetti, and Shelby County District Attorney

Steven Mulroy from enforcing Tennessee Code Annotated § 7-51-1407 UNTIL May 26, 2023.

This Order shall expire on May 26, 2023, unless the Court extends the Order for an additional

period under Federal Rules of Civil Procedure 65(b)(2) before it expires.

       SO ORDERED, this 6th day of April, 2023.

                                               s/Thomas L. Parker
                                              THOMAS L. PARKER
                                              UNITED STATES DISTRICT JUDGE
1
 The Court respectfully DIRECTS the Clerk of Court to add the filings and Defendant Steven J.
Mulroy, in his individual, and official capacity as District Attorney of Shelby County, in case
number 2:23-cv-02176-TLP-tmp to the consolidated case number 2:23-cv-02163-TLP-tmp. The
Court also DIRECTS the Clerk to close case number 2:23-cv-02176-TLP-tmp after the
consolidation.
                                                 2
